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12                               UNITED STATES DISTRICT COURT
13                            DISTRICT OF ALASKA AT ANCHORAGE
14

15   INTERNATIONAL INSURANCE COMPANY )
     OF HANNOVER SE,                 )
16                                                      )
                                             Plaintiff, )
17                                                      )   Case No. 3:18-cv-00242-TMB
                    vs.                                 )
18                                                      )   STIPULATION FOR DISMISSAL
     ALASKA INDUSTRIAL, LLC and ALASKA                  )   WITH PREJUDICE
19   INDUSTRIAL TRUCKING, LLC,                          )
                                                        )
20                                        Defendants.   )
                                                        )
21                                                      )

22

23          The parties, by and through respective counsel, stipulate and agree that all claims in this
24   matter are hereby dismissed with prejudice, the parties to bear their respective costs and fees.
25

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1                    DATED at Anchorage, Alaska this 17th day of January, 2019.

2                                                      SCHWABE, WILLIAMSON & WYATT
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4                                                      OF HANNOVER SE.

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16
            CERTIFICATE OF SERVICE
17
     I hereby certify that on the 17th day of January, 2019
18   I caused a true and correct copy of the foregoing
     STIPULATION FOR DISMISSAL WITH PREJUDICE to
19   be served electronically via CM/ECF in accordance with
     the Court’s electronic filing procedures on the following:
20
     Jason A. Weiner
21   Gazewood & Weiner, PC
     1008 16th Avenue, Suite 200
22   Fairbanks, AK 99701

23
      s/ Herbert H. Ray, Jr.
24   Herbert H. Ray, Jr.

25
26
     STIPULATION FOR DISMISSAL WITH PREJUDICE
     Int’l Ins. Co. of Hannover SE v. Alaska Industrial, LLC, et al.
     Case No. 3:18-cv-00242-TMB                                                            Page 2 of 2

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